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                                                          EXHIBIT B
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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION



 DEVON BANK, as the Guardian of the Estate          )
 of ALAYNA HIKE, a minor, and                       )
 RHONDA JONES, Individually,                        )
                                                    )
                                                    )
                    Plaintiffs,                     )                 No. 17 C 9286
                                                    )
 vs.                                                )                    Judge Lee
                                                    )
 UNITED STATES OF AMERICA and                       )
 VHS WEST SUBURBAN MEDICAL                          )
 CENTER, INC. d/b/a WEST SUBURBAN                   )
 MEDICAL CENTER,                                    )
                                                    )
                   Defendants.

         STIPULATION FOR COMPROMISE SETTLEMENT AND RELEASE OF
        FEDERAL TORT CLAIMS ACT CLAIMS PURSUANT TO 28 U.S.C. § 2677

        It is hereby stipulated by and between the undersigned Plaintiffs (meaning any person, other

than the defendant, the parties’ attorneys, and the structured settlement broker, signing this agreement

waiving and releasing claims, whether or not such person is a party to this civil claim), and the

Defendant, United States of America, including its agents, servants, and employees (hereinafter

“United States”), collectively, “the parties,” by and through their respective attorneys, as follows:

        1. The parties to this Stipulation for Compromise Settlement and Release (hereinafter

“Stipulation”) do hereby agree to settle and compromise each and every claim of any kind, whether

known or unknown, including claims for wrongful death, arising directly or indirectly from the acts

or omissions that gave rise to the above-referenced above-captioned civil action, under the terms and

conditions set forth in this Stipulation.
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        2. This Stipulation is not, is in no way intended to be, and should not be construed as, an

admission of liability or fault on the part of the United States, its agents, servants, or employees, and

it is specifically denied that they are liable to Plaintiffs. This settlement is entered into by all parties

for the purpose of compromising disputed claims under the Federal Tort Claims Act and avoiding

the expenses and risks of further litigation.

        3. In consideration for Plaintiffs’ agreement to accept the terms and conditions of this

settlement, the United States agrees to pay the cash sums set forth below in Paragraph 3.a., to

purchase the annuity contract described below in Paragraph 3.b., and to establish the Irrevocable

Reversionary Inter Vivos Grantor Medical Care Trust for the Benefit of Alayna Hike (hereinafter

“Reversionary Trust”) described below in Paragraph 3.c.

                 a. Within three business days after counsel for the United States receives (1) this

        Stipulation signed by all parties to said document; (2) the Reversionary Trust signed by all

        parties to said document; (3) the Social Security number or tax identification number of

        Plaintiffs and their attorney; (4) state or federal court Order(s) approving the settlement and

        authorizing an individual or entity to sign the settlement documents on behalf of Alayna Hike;

        and (5) an authorization by the Attorney General or his designee to conclude negotiations and

        to consummate the settlement, counsel for the United States will submit the following

        requests to the Health Resources and Services Administration, United States Department of

        Health and Human Services, for the total sum of Fifteen Million Dollars ($15,000,000.00)

        (hereinafter “Settlement Amount”) to be paid as follows:

                          (1)      A check in the amount of Seven Million Five Hundred Thousand

                 Dollars ($7,500,000) (hereinafter “Upfront Cash”) made payable to Plaintiffs, and


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                 delivered to Plaintiffs’ Counsel. With respect to the payment of the Upfront Cash,

                 Plaintiffs stipulate and agree that the United States will not sign an annuity application

                 form, a uniform qualified assignment form, or any equivalent such forms, and that the

                 United States will not pay the Upfront Cash into a qualified settlement fund or an

                 equivalent fund or account. Plaintiffs further stipulate and agree that they, their

                 attorney(s), and representatives (including any structured settlement annuity broker,

                 regardless of whether said broker was retained by them or by someone else, either

                 before, during, or after the settlement) will not attempt to structure the Upfront Cash

                 in any way, form, or manner, including by placing any of the Upfront Cash into any

                 qualified settlement fund or its equivalent. However, nothing in this Paragraph 3.a.(1)

                 precludes the Plaintiffs from purchasing non-qualified annuities after the Plaintiffs

                 have cashed the Upfront Cash settlement check, but they agree that they will not

                 represent to any person, entity, or agency that they are purchasing qualified annuities

                 and they agree they will not attempt to purchase such annuities.

                          Plaintiffs agree to endorse the Upfront Cash check over to Plaintiffs’ attorney

                 to be deposited in the attorney’s client trust account to facilitate the disbursement of

                 the Upfront Cash according to the terms of the Order approving the settlement on

                 behalf of the minor Plaintiff. Plaintiffs stipulate and agree that the attorney shall

                 escrow the aggregate face value of any and all currently known liens and currently

                 known claims for payment or reimbursement, including any such liens or claims by

                 Medicaid or Medicare, arising out of the subject matter that gave rise to the above-

                 captioned civil action, whether disputed as legally valid or not, and shall not distribute


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                 to Plaintiffs any portion of the escrowed amount unless and until said liens and claims

                 have been paid or resolved.

                          (2)      An electronic funds transfer (EFT) in the amount of Seven Million

                 Dollars ($7,000,000.00) (hereinafter “Annuity Premium Amount”) to Brant, Hickey

                 and Associates, general agent for Settlement Advisors, LLC, for the purchase of the

                 annuity contract described below in Paragraph 3.b.

                          (3)      An electronic funds transfer (EFT) in the amount of Five Hundred

                 Thousand Dollars ($500,000.00) (hereinafter “Reversionary Trust Deposit”) to Fifth

                 Third Private Bank, for deposit in the Reversionary Trust described below in

                 Paragraph 3.c.

                          (4)      The parties agree that any attorneys’ fees owed by Plaintiffs in their

                 Federal Tort Claims Act claim against the United States shall not exceed twenty

                 percent (25 %) of the Settlement Amount. 28 U.S.C. § 2678. The parties further

                 agree that any such attorneys’ fees, along with Plaintiffs’ costs and expenses incurred

                 in bringing the above-referenced claims, and their costs, expenses, and fees (including

                 all fees if any legal Guardian Ad Litem) associated with obtaining court approval of

                 this settlement on behalf of any minor, incompetent adult, or estate required to sign

                 this Stipulation, shall be paid out of the Upfront Cash paid pursuant to paragraph

                 3.a.(1) above, and not in addition thereto. The parties agree that any fees, including

                 fees of any legal Guardian Ad Litem, incurred in providing legal services in this matter

                 and in any court proceedings reviewing the settlement for approval purposes shall be




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                 considered attorneys’ fees and not costs, and shall be subject to the provisions of 28

                 U.S.C. § 2678.

        b.       Based on the following terms and conditions, the United States will purchase the

following annuity contract(s):

                 (1) The United States will purchase an annuity contract or contract(s), from an annuity

        company(ies) rated at least A by A.M. Best rating service, to pay to the Reversionary Trust:

        (i) the sum of $18,000.00 per month, beginning one month from the date of purchase and

        continuing for one hundred and twenty (120) months; (ii) the sum of $26,175.00 per month,

        beginning one hundred and twenty one (121) months from the date of purchase and

        continuing for one hundred and eighty (180) months; and (iii) the sum of 10,000.00 per

        month, increasing at 3% compounded annually after the first year of payments, beginning

        three hundred and one (301) months from the date of purchase, payments certain for one

        hundred and eighty (180) months, and continuing thereafter so long as Alayna Hike is alive.

        In the event the cost of the annuity contract(s) has either increased or decreased by the date

        of purchase, the monthly annuity payments set forth shall be adjusted upward or downward

        to ensure that the premium cost of the annuity contract(s) is equal to $7,000,000.00 and not

        more or less than that amount, and specifically, the cost of the payments in (i) above shall

        equal $1,980,000; the cost of the payments in (ii) above shall equal $3,030,000; and the cost

        of the payments in (iii) above shall equal $1,990,000. The monthly annuity payments are

        based upon the date of birth for Alayna Hike of December 2, 2016, that was provided by

        Plaintiffs. If the date of birth is otherwise, the annuity payments described above will be

        adjusted accordingly. Upon the death of Alayna Hike, any payments remaining during the


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        period certain shall be made payable to the Health Resources and Services Administration,

        United States Department of Health and Human Services re: Alayna Hike, and sent to the

        Torts Branch, Civil Division, United States Department of Justice, P.O. Box 888, Benjamin

        Franklin Station, Washington D.C. 20044, or upon written notice, any subsequent change of

        address.

                 (2) The annuity contract(s) being purchased pursuant to this Paragraph 3.b. will be

        owned solely and exclusively by the United States and will be purchased through Settlement

        Advisors, LLC as specified above in Paragraph 3.a. The parties stipulate and agree that the

        United States’ only obligation with respect to an annuity contract(s) and any annuity

        payments therefrom is to purchase said contract(s), and they further agree that the United

        States does not guarantee or insure any of the annuity payments. The parties further stipulate

        and agree that the United States is released from any and all obligations with respect to an

        annuity contract(s) and annuity payments upon the purchase of said contract(s).

                 (3) The parties stipulate and agree that the annuity company that issues an annuity

        contract shall, at all times, have the sole obligation for making all annuity payments. The

        obligation of the annuity company to make each annuity payment shall be discharged upon

        the mailing of a valid check, or executing an electronic funds transfer, in the amount of such

        payment to the address, or account, designated by the party to whom the payment is required

        to be made under this Stipulation. Payments lost or delayed through no fault of the annuity

        company shall be promptly replaced by the annuity company, but the annuity company is not

        liable for interest during the interim.




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                 (4) The parties stipulate and agree that the annuity payments cannot be assigned,

        accelerated, deferred, increased, or decreased by the parties, that no part of any annuity

        payments called for herein, nor any assets of the United States or the annuity company, are

        subject to execution or any legal process for any obligation in any manner, and that the

        Plaintiffs shall not have the power or right to sell, assign, mortgage, encumber, or anticipate

        said annuity payments, or any part thereof, by assignment or otherwise.

                 (5) Plaintiffs and Plaintiffs’ guardians, heirs, executors, administrators, and assigns

        do hereby agree to maintain with the annuity company(ies) and the United States a current

        mailing address for Alayna Hike, to notify the annuity company and the United States of the

        death of Alayna Hike within ten (10) days of the date of death, and to provide to the annuity

        company and the United States a certified death certificate within sixty (60) days of said

        death.

        c.       The United States will establish, as the Grantor, the Reversionary Trust for Alayna

Hike on the following terms and conditions:

                 (1) The parties agree to the terms, conditions, and requirements of the Reversionary

        Trust, a copy of which is attached hereto and incorporated by reference.

                 (2) Plaintiffs and Plaintiffs’ successors, assigns, and guardians, if any, agree that the

        Trust Beneficiary and anyone acting on behalf of the Trust Beneficiary has the duty and

        responsibility to cooperate with the Administrator and Trustee of the Trust to the extent the

        Administrator and the Trustee determine that the Beneficiary’s cooperation is necessary or

        useful for them to carry out his respective duties and responsibilities. Plaintiffs and Plaintiffs’

        successors, assigns, and guardians, if any, further agree that the Beneficiary has the duty and


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        responsibility to: submit requests for payment of allowable benefits as required by the Trust;

        provide signatures, authorizations, documentation, or information necessary for the carrying

        out of the terms of the Trust, including documentation and information required by the

        Trustee in order for the Trustee to comply with the Patriot Act; identify other sources of

        payments or benefits; apply to other sources of payments or benefits for coverage; to assist

        the Administrator and Trustee in obtaining payments or reimbursement from other sources of

        payments or benefits; and transmit to the Trust Estate any amount received by (or on behalf

        of the Beneficiary) from another source of payments or benefits in reimbursement for, or

        payment of, an expense that has been paid or will be paid from the Trust Estate. The parties

        agree that the failure of the Beneficiary to comply with these duties may result in the denial,

        in whole or part, of payments from the trust estate, depending on the terms of the Reversionary

        Trust.

                 (3)    Plaintiffs and Plaintiffs’ heirs, executors, administrators, and assigns shall

        maintain with the Administrator, the Trustee, and the United States a current mailing address,

        and shall notify the Administrator, the Trustee, and the United States of any event upon which

        the right of payments from the trust estate may depend, including the death of Alayna Hike,

        within ten (10) days of the date of such event, and shall provide the Administrator, the

        Trustee, and the United States with a certified death certificate within thirty (60) days of the

        death of Alayna Hike.

                 (4) Upon the death Alayna Hike, the Trustee shall, to the extent authorized by the

        terms of said Reversionary Trust, pay allowable charges, expenses, and benefits, and liquidate

        and distribute the remaining trust estate to the United States by check made payable to Health


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        Resources and Services Administration, United States Department of Health and Human

        Services Re: Alayna Hike and sent to: Director, Torts Branch (FTCA Litigation Section),

        Civil Division, United States Department of Justice, P.O. Box 888, Benjamin Franklin

        Station, Washington D.C. 20044, or, upon written notice, any subsequent change of address.

        4. Plaintiffs and Plaintiffs’ guardians, heirs, executors, administrators, and assigns hereby

accept the terms and conditions of this settlement, including the payment of the Settlement Amount

set forth above in Paragraph 3.a, the purchase of the annuity contract set forth above in Paragraph

3.b, and the establishment of the Reversionary Trust set forth above in Paragraph 3.c., in full

settlement, satisfaction, and release of any and all claims, demands, rights, and causes of action of

any kind, whether known or unknown, including any future claims for survival or wrongful death,

and any claims for fees, interest, costs, and expenses, arising from, and by reason of, any and all

known and unknown, foreseen and unforeseen, bodily and personal injuries, including the death of

Alayna Hike, or damage to property, and the consequences thereof, which Plaintiffs or their heirs,

executors, administrators, or assigns may have or hereafter acquire against the United States on

account of the subject matter that gave rise to the above-captioned claims.

        Plaintiffs and Plaintiffs’ guardians, heirs, executors, administrators, and assigns further agree

to reimburse, indemnify, and hold harmless the United States from and against any and all claims,

causes of action, liens, rights, or subrogated or contribution interests (whether such claims, causes of

action, liens, rights, subrogated interests, or contribution interests sound in tort, contract, or statute)

incident to, or resulting or arising from, the acts or omissions that gave rise to the above-captioned

claim, including claims or causes of action for wrongful death.




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        The Plaintiffs and their guardians, heirs, executors, administrators, and assigns further

stipulate and agree that they are legally responsible for any and all past, present, and future liens and

past, present, and future claims for payment or reimbursement, including any past, present, and future

liens or claims for payment or reimbursement by any individual or entity, including an insurance

company, Medicaid, and Medicare, arising from the injuries that are the subject matter of this action.

Plaintiffs stipulate and agree that they will satisfy or resolve any and all such past, present, and future

liens or claims for payment or reimbursement asserted by any such individual or entity. Plaintiffs

agree that, no later than thirty (30) days from the date any past, present, or future lien or claim for

payment or reimbursement is paid or resolved by Plaintiffs, they will provide to the United States

evidence that said lien or claim has been satisfied or resolved and that said lienholder has waived and

released such lien or claim. The evidence required by the terms of this Paragraph may be satisfied by

a letter from Plaintiffs’ attorney representing to counsel for the United States that such lien or claim

has been satisfied or resolved and that the lienholder has waived and released such lien and claim.

Plaintiffs and their attorneys stipulate and agree that Plaintiffs, by and through their attorney, will

satisfy or resolve any and all currently known claims for payment or reimbursement and any and all

currently known liens asserted by any individual or entity before distributing to Plaintiffs any portion

of the Upfront Cash paid pursuant to Paragraph 3.a.(1) above.

   5. This compromise settlement is specifically subject to each of the following conditions:

        a. The Attorney General or the Attorney General’s designee must approve the terms and

conditions of the settlement and authorize the attorney representing the United States to consummate

a settlement for the amount and upon the terms and conditions agreed upon by the parties, as set forth

in this Stipulation and Reversionary Trust.


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        b. The parties must agree in writing to the terms, conditions, and requirements of this

Stipulation and the Reversionary Trust. The parties stipulate and agree that the Stipulation and the

compromise settlement are null and void in the event the parties cannot agree on the terms,

conditions, and requirements of this Stipulation. The terms, conditions, and requirements of this

Stipulation are not severable and the failure to agree, fulfill, or comply with any term, condition, or

requirement renders the entire Stipulation and the compromise settlement null and void. The parties

must agree to the terms, conditions, and requirements of this Stipulation and the Reversionary Trust

before counsel for the United States will seek settlement authority from the Attorney General or the

Attorney General’s designee.

        c. Alayna Hike must be alive at the time the Reversionary Trust described in Paragraph 3.c.

is deemed established, as defined in Article V of the Reversionary Trust, and at the time the annuity

contract described in Paragraph 3.b. is purchased. In the event of the death of Alayna Hike prior to

the date the Reversionary Trust is deemed established or the date the annuity contract is purchased,

the entire Stipulation and compromise settlement are null and void.

        d. Plaintiffs must obtain, at their expense, approval of the settlement by a court of competent

jurisdiction on behalf of Alayna Hike. The terms of any court Order, a draft of which shall be

provided by the United States, are a condition of this settlement. Plaintiffs agree to obtain such

approval(s) in a timely manner: time being of the essence. Plaintiffs further agree that the United

States may void this settlement at its option in the event any such approval is not obtained in a timely

manner. In the event Plaintiffs fail to obtain such court approvals, the entire Stipulation and the

compromise settlement are null and void. Plaintiffs must obtain such court Order before the United




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States’ attorney will seek settlement authority from the Attorney General or the Attorney General’s

designee.

        e. Plaintiffs must provide the United States with a complete set of the extant medical records

of Alayna Hike (including any independent medical examinations conducted for purposes of this

litigation, any and all clinic visits, whether for routine checkups or for treatment and care for any

medical condition, injury, disease, etc., any and all hospital and emergency room records, and any

records of any diagnostic testing) for the 36-month period prior to the date Plaintiffs sign this

Stipulation. Plaintiffs must provide all such extant medical records for said 36-month period before

counsel for the United States will seek settlement authority from the Attorney General or the Attorney

General’s designee. In the event said records and reports reveal that Alayna Hike had or has any

such potentially life-threatening or life-shortening diseases or illnesses not caused by the medical

care at issue in this action, the United States reserves the right to elect not to consummate the

settlement and upon such election by the United States the entire settlement is null and void.

        f. Plaintiffs must obtain a release and waiver of any claim or cause of action (whether

sounding in tort, contract, statute, or otherwise) that any alleged tortfeasor, if any, has or may have

in the future against the United States arising out of the subject matter of the above-captioned action.

This condition is for the benefit of the United States exclusively. The United States will provide the

form of Release and Waiver, or any changes to the form required by the United States, to be used by

Plaintiffs in obtaining a Release and Waiver from any alleged tortfeasor. Before the counsel for the

United States will seek settlement authority from the Attorney General or the Attorney General’s

designee, Plaintiffs must provide the United States with either (i) all such releases and waivers

required by this Paragraph 5.f., or (ii) a written representation by Plaintiffs’ attorney stating that, after


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a diligent search of counsel’s law firms’ records and files, including expert and consultant reports,

and of Plaintiffs’ records and files, Plaintiffs and their attorney are unaware of any such potential

tortfeasor.

        g. Payment of the settlement is subject to there being sufficient funds in the account

established by Congress (e.g., 42 U.S.C. § 233(k)) for payment of settlements and judgments of

claims subject to the Federally Supported Health Centers Assistance Act of 1992 and 1995 (42 U.S.C.

§§ 233(g), et seq.) to pay the settlement in its entirety.

        6. The parties agree that this Stipulation, including all the terms and conditions of this

compromise settlement and any additional agreements relating thereto, may be made public in their

entirety, and Plaintiffs expressly consent to such release and disclosure pursuant to 5 U.S.C. §

552a(b).

        7. Plaintiffs shall be solely responsible for full compliance with all applicable Federal, state,

and local tax requirements. Plaintiffs execute this Stipulation without reliance upon any

representation by the United States as to tax consequences, and Plaintiffs agree that they are

responsible for the payment of all taxes that may be associated with this settlement. Further, nothing

in this Stipulation waives or modifies Federal, state, or local laws pertaining to taxes, offsets, levies,

and liens that may apply to this Stipulation or the Settlement Amount proceeds. Plaintiffs execute

this Stipulation without reliance on any representation by the United States as to the application of

any such law. Plaintiffs, on behalf of themselves and their guardians, heirs, executors, administrators,

assigns, subrogees, predecessors in interest, and successors in interest, understand and agree that this

transaction may be reported to the Internal Revenue Service and other government agencies in the




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ordinary course of the business of the United States and may be subject to offset pursuant to the

Treasury Offset Program.

         8. Plaintiffs represent that they have read, reviewed and understand this Stipulation and the

Reversionary Trust, that they are fully authorized to enter into the terms and conditions of this

Stipulation and the Reversionary Trust, and that they agree to be bound thereby. Plaintiffs further

acknowledge that they enter into this Stipulation and the Reversionary Trust freely and voluntarily.

Plaintiffs further acknowledge that they have had sufficient opportunity to discuss this Stipulation

and the Reversionary Trust with their attorney, who has explained the documents to Plaintiffs and

that Plaintiffs understand all of the terms and conditions of this Stipulation and the Reversionary

Trust.

         9. It is contemplated that this Stipulation may be executed in several counterparts, with a

separate signature page for each party. All such counterparts and signature pages, together, shall be

deemed to be one document.



         WHEREAS, the parties accept the terms of this Stipulation for Compromise Settlement and

Release as of the dates written below:




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Executed this day of     , 2019.
UNITED STATES OF AMERICA



By:     ______________________________
        Jimmy Arce
        Assistant United States Attorney
        Attorney for United States of America




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Executed this____ day of _________ 2019.
ATTORNEY FOR PLAINTIFFS: BEAM LEGAL TEAM



By:     _______________________________________
        Jack Beam, Esquire
        Matthew Patterson, Esquire
        Attorneys for Plaintiffs




Executed this ___day of _____________ 2019.
ATTORNEY FOR PLAINTIFFS: FIEGER LAW FIRM


By:            ________________________________________
        Geoffrey Nels Fieger, Esquire
        Attorney for Plaintiffs




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Executed this day of          2019,
ALAYNA HIKE



By:     _________________________________
        Devon Bank,
        Guardian ad litem of Alayna Hike




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Executed this day of 2019.
RHONDA JONES, INDIVIDUALLY AND AS PARENT OF ALAYNA HIKE



Rhonda Jones, Individually
and as Parent of Alayna Hike




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Executed this day of      , 2019.
STRUCTURED SETTLEMENT BROKERAGE COMPANY
BRANT, HICKEY AND ASSOCIATES (HEREINAFTER “COMPANY”)


        I, the undersigned, swear under penalty of perjury that I am duly authorized to sign this
Settlement Agreement on behalf of the Company and have furnished written proof thereof to the
United States. I also swear under penalty of perjury that the Company and its employees, agents,
and structured settlement annuity brokers are covered by an Errors and Omission insurance policy
and a fidelity bond or equivalent insurance coverage, and have furnished to the United States a
certificate or proof of insurance for such policies. By signing this Settlement Agreement, I agree
that the Company will accept the Annuity Premium Amount. I further agree that, within five
business days of receipt of the Annuity Premium Amount, the Company will (1) disburse the
Annuity Premium Amount to an annuity company(ies), rated at least A by A.M. Best rating
service, for the purchase the annuity contract(s) described above in Paragraph 3.b of this Settlement
Agreement, and (2) provide to the parties both written proof that the Annuity Premium Amount
has been accepted by said annuity company(ies).



By:                                     ________
        Gary Brant, President
        On behalf of the Company




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Executed this day of    , 2019.
STRUCTURED SETTLEMENT ANNUITY BROKER
HENRY BARKHAUSEN (HEREINAFTER “BROKER”)


        I, the undersigned Broker, swear under penalty of perjury that I currently meet the
minimum qualifications set forth in 28 CFR 50.24 to provide structured settlement annuity
brokerage services to the United States and that I am currently covered by an Errors and Omissions
policy and a fidelity bond or equivalent insurance coverage, and have furnished to the United
States a certificate or proof of insurance for such policy. By signing this Settlement Agreement, I
agree to ensure that the application for any annuity contract and the annuity contract issued by the
annuity company will comply with the terms and conditions of Paragraph 3.b of the Settlement
Agreement.


___________________________________________
Henry Barkhausen
Structured Settlement Annuity Broker




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